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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                                  CASE NO. 14-MJ-1024(1)(JSM)

         Plaintiff,

v.                                                              ORDER OF TEMPORARY DETENTION
                                                                    PENDING HEARING PURSUANT
ABDULLAHI YUSUF,                                                           TO BAIL REFORM ACT

         Defendant.


         Upon motion of the Government, it is ORDERED that a Detention and Preliminary

Hearing is set for November 26, 2014 at 2:30 p.m. before U.S. Magistrate Judge Janie S.

Mayeron, in Courtroom 9E, U.S. Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota. Pending this hearing, the defendant shall be held in custody by the United

States Marshal and produced for the hearing.


Dated:            November 25, 2014


                                                       s/ Janie S. Mayeron
                                                       JANIE S. MAYERON
                                                       United States Magistrate Judge




*    If not held immediately upon defendant's first appearance, the hearing may be continued for up to three
     days upon motion of the Government, or up to five days upon motion of the defendant. 18 U.S.C.
     § 3142(f)(2).

     A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142 are present. Subsection
     (1) sets forth the grounds that may be asserted only by the attorney for the Government; subsection
     (2) states that a hearing is mandated upon the motion of the attorney for the Government or upon the
     judicial officer's own motion if there is a serious risk that the defendant (a) will flee; or (b) will obstruct or
     attempt to obstruct justice, to threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a
     prospective witness or juror.
